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         EXHIBIT A-79
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From:             Tenreiro, Jorge
To:               McLucas, William; Zerwitz, Martin
Cc:               Hirsch, David L; Kim, Paul E.; Hitchins, Kathleen M; Farer, Jennifer; Scarlato, Matthew; Smith, Tiffany; Martens,
                  Matthew T.; Beville, Matthew; gcanellos@milbank.com; Murphy, J. Emmett; Nasse, David; Tarasevich, Deborah
Subject:          RE: Binance
Date:             Wednesday, May 24, 2023 8:57:59 PM


Hi Bill and welcome George:

Thanks for the below email and again for talking to us earlier today. However, we remain awaiting
written confirmation from you regarding the safeguarding of client assets at BAM Trading Services
Inc.—specifically, confirming that all U.S. customer assets (fiat and crypto) are segregated, secured,
unencumbered, and available for immediate withdrawal by Binance.US customers. As part of that
memorialization, please include the following information:

    -        The total amounts of Binance.US customer assets (both crypto and fiat) held and/or
             controlled by BAM Trading, Changpeng Zhao, Binance Holdings Limited, Prime Trust LLC, or
             any other entity or individual.
    -        Whether the 2022 audits for BAM Trading and BAM Management US Holdings Inc. have
             been completed and please provide copies if they have.
    -        The public blockchain addresses for all wallets currently holding Binance.US customers’
             crypto assets.
    -        The custody and control arrangements for all crypto assets and private keys (including, but
             not limited to, protocol information for the control and authorization of transfer of crypto
             assets; identification and location of key shard holders and whether they are currently or
             were formerly employed by Binance Holdings (or other Binance entity); location of any
             hardware wallets; and Zhao’s and Binance Holdings’ respective roles and authority over
             crypto assets held and/or controlled on behalf of Binance.US customers and BAM Trading,
             including any authority – whether formal or informal – to transfer crypto assets).
    -        Details of accounts (bank account numbers and amounts) where segregated (or non-
             segregated, if any) client fiat assets are held.
    -        Custody and control arrangements over customer fiat (including information sufficient to
             prevent dissipation of assets, identification of individuals with authorization to transfer
             assets).
    -        Details on how Binance.US customer assets (both crypto and fiat) are segregated from BAM
             Trading’s, BAM Management’s, or any affiliated entity’s or individual’s assets.

Note that we will not consider information provided above to be subject to FRE 408.

Thank you,

Jorge



From: McLucas, William <William.McLucas@wilmerhale.com>
Sent: Wednesday, May 24, 2023 8:14 PM
